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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiff,                                      8:16CR318

       vs.
                                                                        ORDER
LAFI JAFARI,

                       Defendant.

       This matter is before the court on defendant's Motion To Continue Filing of Pretrial
Motions [24]. For good cause shown, I find that the motion should be granted. The defendant
will be given an approximate 8-week extension. Pretrial Motions shall be filed by May 25, 2017.
       IT IS ORDERED:
       1.      Defendant's Motion To Continue Filing of Pretrial Motions [24] is granted.
Pretrial motions shall be filed on or before May 25, 2017.
       2.      Defendant is ordered to file the affidavit required by Rule 16(c), Fed. R. Cr. P.
and NE. Crim. R. 12.1 forthwith.
       3.      The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a result
of the granting of the motion, i.e., the time between March 29, 2017 and May 25, 2017, shall be
deemed excludable time in any computation of time under the requirement of the Speedy Trial
Act for the reason defendant's counsel requires additional time to adequately prepare the case,
taking into consideration due diligence of counsel, and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B).
       Dated this 29th day of March, 2017.

                                                     BY THE COURT:


                                                     s/ Susan M. Bazis
                                                     United States Magistrate Judge
